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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELA WARE

      PURDUE PHARMA L.P.,                            )
      PURDUE PHARMACEUTICALS L.P.,                   )
      THE P.F. LABORATORIES, INC., and               )
      RHODES TECHNOLOGIES,                           )
                                                     )
                           Plaintiffs,               )   C.A. No. 16-87 (RGA)
            v.                                       )
                                                     )
      EPIC PHARMA, LLC and PURACAP                   )
      PHARMACEUTICAL LLC,                            )
                                                     )
                           Defendants.               )

                                         STIPULATED DISMISSAL

                     On consent of PURDUE PHARMA L.P ., THE P .F, LABORA TORIES, INC.,

       PURDUE PHARMACEUTICALS                L.P.   and RHODES       TECHNOLOGIES         and EPIC

       PHARMA, LLC and PURA CAP PHARMACEUTICAL, LLC, and as settlement of this action

       between those parties, PURDUE PHARMA L.P ., a limited partnership organized and existing

       under the laws of the State of Delaware, having a place of business at Qne Stamford Forum,

       201 Tresser Boulevard, Stamford, Connecticut 06901, THE P.F. LABORATORIES, INC., a

       corporation organized and existing under the laws of the State of New Jersey, having a place of

       business at One Stamford Forum, 201 Tresser Boulevard, Stamford, Connecticut 06901,

       PURDUE PHARMACEUTICALS L.P., a limited partnership organized and existing under the

       laws of the State of Delaware, having a place of business at 4701 Purdue Drive, Wilson, North

       Carolina 27893 and RHODES TECHNOLOGIES, a general partnership organized and existing

       under the laws of the State of Delaware with a place of business at 498 Washington Street,

       Coventry, Rhode Island 02816 (individually and collectively, "Purdue"), and, EPIC PHARMA,

       LLC, a Delaware limited liability company having a principal place of business at 227-15 N.
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  Conduit Avenue, Laurelton, New York 11413, PURACAP PHARMACEUTICAL LLC, a New

  Jersey limited liability company having a principal place of business at 1001 Durham Avenue,

  South Plainfield, New Jersey 07080 (individually and collectively, "Epic") (Purdue and Epic

  being sometimes referred to herein individually as a "Party" and collectively as the "Parties"), it

  is Ordered, Adjudged and Decreed as follows:

                 1.       The Parties agree that Purdue's claims are dismissed without prejudice.

  Further, Epic and Purdue waive and release any possible claim, against each other based on

  conduct or events that have occurred prior to August 17, 2018 relating to the patents in suit and

  Epic Pharma, LLC's Abbreviated New Drug Application ("ANDA") No. 204348 as well as any

  claims or counterclaims that could have been pleaded in 16-cv-00087 (the "Action"). For the

  sake of clarity, nothing in this Stipulated Dismissal: (a) applies, or may be used by any party

  with respect, to any ANDA or NDA submitted by Epic, so long as Epic has made a good faith

  determination that such ANDA or NDA satisfies the then-applicable regulatory requirements

  (including FDA Guidance) for approval (an "Abuse Deterrent ANDA or NDA"); (b) limits the

  claims, defenses, or counterclaims that may be asserted in any action based on any Abuse

  Deterrent ANDA or NDA; (c) prohibits either Party from asserting that the other Party has

  breached the Settlement Agreement; or (d) prohibits Purdue from asserting any patent against

  Epic in connection with any ANDA or NDA.

                 2.       No right, written or oral license or sublicense, covenant not to sue, waiver

  or release or other written or oral authorization is or has been granted or implied by this

  Stipulated Dismissal.

               3.         The Action is hereby dismissed without costs or attorney's fees, save that

 this District Court shall retain jurisdiction over the Action, including without limitation, over




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      implementation of, or disputes arising out of, this Stipulated Dismissal or the settlement of the

      Action.

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      August 20, 2018
      12144329


                     SO ORDERED this '11\ day of       Av~S1, 2018.

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                                                       UNITED STATE~ DISTRICT JUDGE


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